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IN THE UNITED STATES DISTRICT COUR.T
FOR THE WESTERN DISTRIC'I` OF TENNESSEE

  

LEON LAKE, ) @,»\,~,_,_T H
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Plail‘ltiff, ) T.':-‘¢'”‘_ .’\`;'!: U'S D"ST 57
) " 1 TN.»t#,isi<sci»i"
v. )
) CIVIL ACTION NO: 04-1251-T-An
THE PROCTER & GAMBLE )
MANUFACTURING COMPANY, a )
corporation, )
)
Defendant. )
)

CONSENT PROTECTIVE ORDER

The Court finds that discovery in this case will involve review of confidential employment
information regarding Plaintiff Leon Lake (“Plaintiff’), as well as proprietary, trade secret, and
sensitive business information andjor commercially private data of Procter & Gamble
Manufacturing Company its predecessors, successors, affiliates or assigns (collectively “Procter &
Gamble” or “Defendant”), and confidential files, data andfor information relating to third persons
not parties to this action including, but not limited to, those who are present and/or fenner
employees of Procter & Garnble. Specifically, the Court finds that discovery will involve
documents relating to compensation and performance of current and former employees other than,
and including Plaintiff, and other information that is trade secret or otherwise commercially
sensitive and confidential. The Court finds that Procter & Garnble has demonstrated that it could
be exposed to liability and will suffer irreparable damage to relationships with and among its
employees, none of whom are parties to this action, if this information Were to be disseminated
Additionally, the Court finds that the case does not involve a matter of public health or safety, nor

are there any class aliegations, or other special circumstances, that weigh in favor of disclosure

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Therefore the Court finds that the balance of interests weighs in favor of granting this Consent
Protective Order. Accordingly, good cause having been shown within the meaning of Federal
Rule of Civil Procedure 26(c), and it appearing that the parties in this action consent to entry of
this Protective Order, IT IS HEREBY ORDERED THAT:

As used herein, the word “document” means: (a) all papers, documents, printed and written
materials produced or furnished by, or obtained by Plaintif`f or Def`endant; (b) all copies, extracts,
and complete or partial summaries prepared from such papers or documents; (e) portions of
deposition transcripts and exhibits thereto which relate to any such papers, documents, materials,
copies, extracts or summaries; (d) portions of briefs, memoranda or any other writings filed with
the Court, and exhibits thereto, which relate to any such papers, document copies, extracts or
summaries, but not (e) any materials which in the good faith judginth of counsel are work
product materials

(1) All documents produced and information f\n'nished by Plaintiff or Defendant which
are designated by the parties, in good faith, as “CON'FIDENTLAL” shall be treated as such by all
parties to this litigation Such confidential documents, and all copies, summaries, compilations,
notes or abstracts thereof`, shall be used exclusively in this action and for' no other purpose.

(2) If` any confidential document is used during any deposition, the deposition or
relevant portions thereof (as designated by agreement of counsel) shall be treated as confidential in
accordance with paragraph (1), supra.

(3) Any document, information or deposition designated as “CONFIDENTIAL” under
this order shall, if filed with the Court, be clearly marked “CONFIDENTIAL,” sealed, placed in
separate, secure storage by the Clerk, and opened only by authorized Court personnel

(4) Documents, information and deposition testimony designated as

“CONFIDENTIAL” pursuant to the terms of this Order may be used only in connection with this

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case and may be disclosed only to counsel and employees and professional assistants of counsel
who have a need to review the information or contents of the documents to aid effectively in the
preparation of this case. Notwithstanding the foregoing, documents and information designated as
“CONF[DENTLAL” pursuant to this Order may be disclosed to Plaintiff, Defendant, and potential
witnesses for Plaintiff or Defendant only on an as-needed basis if Plaintist or Defendant’s
counsel, in good faith forms the belief that the witness needs to be privy to the
information/document and first informs Plaintiff, Defendant, or the Witness of, and he or she
agrees to be bound by, the terms of this Protective Order. With the exception of expert witnesses,
no party or witness to whom confidential documents or information is disclosed shall be allowed
to possess, make, take, keep, retain, duplicate, or copy confidential documents or information of
the other party. Expert witnesses shall return all confidential documents or information to counsel
upon the conclusion of this litigation. Upon conclusion of this litigation, all confidential
documents supplied by a producing party, and all copies thereof (including without limitation,
copies provided to testifying or consulting experts or consultants) shall be returned to the
producing party, or at the producing party’s option, be destroyed by the receiving party. Counsel
and the party or parties to whom confidential documents or information were disclosed by the
opposing party will certify, in writing, that all confidential documents and information disclosed to
them has been returned or destroyed, as applicable, within 20 days of the conclusion of this
litigation

(5) Documents or information that were obtained from or are readily obtainable from a
source other than through formal or informal discovery from a party in this action cannot be
designated “CONF]I)ENTIAL” by a party to this action, unless such documents or information
are (a) medical or psychological records relating to Plaintiff; or (b) were obtained by any current

or fenner employee of Procter & Gamble (ineluding Plaintiff) in the scope of their employment

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with Procter & Gamble, from Procter & Gamble or any of its employees, agents, or customers
The procedure for designating documents described in subsections (a) and (b) of this paragraph
shall be identical to the procedure set forth in paragraphs (l) and (8) of this Order.

(6) Prior to disclosure of documents or information designated as “CONFIDENTIAL”
pursuant to this Order to Plaintiff, Defendant’s representatives and employees, or any potential
witness or expert for the party to whom confidential documents were produced, such individuals
shall execute a statement of confidentiality identical to Exhibit “A,” attached hereto. Counsel
shall maintain and be prepared to produce a copy of that statement to opposing counsel, upon
request if a violation of this Order is reasonably believed to have occurred.

(7) The parties shall resolve any disputes concerning the designation of any documents
as “CONF]DENTIAL” as follows:

The non-designating party shall challenge any designation of confidentiality by notifying
the designating party in writing, specifically identifying the challenged item(s) as well as the basis
for the challenge. If the parties cannot resolve the challenge after engaging in good-faith
discussions, the non-designating party shall seek an order of the Court with respect to the
challenged item designated as “CONFIDENTIAL.” Plaintiff and witnesses for Plaintiff will treat
all documents or information designated as “CONF[DENTIAL” and Defendant and witnesses for
Defendant will treat all documents or information designated as “CONFIDENTIAL” in
accordance with the requirements of this Order during the pendency of such motion. The parties
further agree that before seeking any relief from the Court under this paragraph, they will make a
good-faith effort to resolve any disputes concerning the confidential treatment of any inforrnation.

(8) After the final termination of this litigation, all documents, transcripts or other
materials afforded “CONF[DENTIAL” treatment pursuant to this Order and in the possession of

counsel or experts for either party, including any extracts, summaries or compilations taken there

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from, but excluding any materials which in the good-faith judgment of counsel are work product
materials, shall be returned to opposing counsel within sixty (60) days following the final

resolution of this lawsuit.

(9) The provisions of this Order shall not affect the admissibility of evidence at trial,

summary judgment or any preliminary evidentiary proceeding in open court.

SO ORDERED, this gay of HEH g , 200§./
Qa/M a . MJ\

Unit(d){States District Judge

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AGREED TO AND APPROVED BY:

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ASHE & RAFUSE LLP . Lawrence Ashe, Jr.

1355 Peachtree Street, N.E. Georgia Bar No. 024500
Suite 500 Cynthia G. Bumside
Atlanta, Georgia 30309-3232 Georgia Bar No. 097107

Telephone: (404) 253-6000
Facsimile: (404) 253-6060

/
at -/-
srephen r). wakefield stephen n. Wekenei<i §

 

WYATT, TARRANT & COMBS, LLP
P.O. Box 775000

Memphis, TN 38177-5000

Telephone: (901) 537-1069

Facsimile: (901) 537-1010

Deliveries other than U.S. Mail:

1715 Aaron Brenner Dr., Suite 800
Memphis, TN 38120-4367

COUNSEL FOR DEFENDANT PROCTER &

 

GAMBLE MANUFACTURING COMPANY \/`I'

GLANKLER BRowN, PLLC venire Mené\Menin '
One Commerce Square

17th Floor

Memphis, Tennessee 38103-2566

COUNSEL FOR PLAINTIFF

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EXHIBIT A

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STATEMENT OF CONFIDENTIALITY
By signing this document, I hereby certify that l have read the Consent Protective Order
entered by this Court in .LEONLAKE v. PROCTER & GAMBLE MANUFA CTURING
COMPANY, Civil Action No. 04-1251-T-An. I understand that Order and agree to abide

by its contents

 

SIGNATUR_E

 

NAME (PR]NTED)

 

DATE

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 1:04-CV-01251 was distributed by faX, mail, or direct printing on
May 10, 2005 to the parties listed.

ESSEE

 

Larry Montgomery
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Stephen D. Wakefield

WYATT TARRANT & COl\/IBS
P.O. Box 775000

1\/lemphis7 TN 38177--500

R. Lawrence Ashe
ASHE & RAFUSE7 LLP
1355 Peachtree St., NE
Ste. 500

Atlanta, GA 30309--323

Adam F. Glankler
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Venita Marie Martin
GLANKLER BROWN, PLLC
One Commerce Square

Suite 1700

1\/lemphis7 TN 38103

Cynthia G. Burnside
ASHE & RAFUSE7 LLP
1355 Peachtree St., NE
Ste. 500

Atlanta, GA 30309--323

Honorable .l ames Todd
US DISTRICT COURT

